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       EXHIBIT 16
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                            In the Matter Of:

              WASHINGTON -against- WALGREENS
                                 17-cv-2393(JMF)




                       CIERA WASHINGTON

                              May 14, 2018




                            Non-Confidential




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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · · · · ·MR.
              MR. WARSHAW:·
                  WARSHAW: ·Mark
                            Mark this

·3·
 3 · · ·Washington
        Washington Exhibit 8.

·4·
 4 · · · · · · · · · (Employee Handbook was

·5·
 5 · · · · · · · · · marked as Washington

·6·
 6 · · · · · · · · · Exhibit 8 for

·7·
 7 · · · · · · · · · identification.)

·8·
 8 · · ·Q.·
        Q. · Ms. Washington, you have been
·9·
 9 ·handed
    handed a document marked as Washington

10· ·Exhibit
10   Exhibit 8.·
             8. It bears Bates stamp DR 35

11· ·through
11   through DR 84.

12· · · · · · ·It
12             It is a lengthy document, but I

13· ·will
13   will just ask you to look at the first

14· ·page,
14   page, if you would, the first few pages.
                                       pages

15· · · · · · ·(Witness
15             (Witness complies.)

16· · · ·Q.·
16       Q. · Have you ever seen this document
17· ·before,
17   before, either in paper or electronic

18· ·format?
18   format?

19· · · ·A.·
19       A. · I don't recall at this time.

20· · · ·Q.·
20       Q. · I will just note for the record
21· ·at
21   at the bottom of the page it states "Duane

22· ·Reade
22   Reade Employee Handbook updated 9/1/2013."

23· · · · · · ·Do
23             Do you see that?

24· · · ·A.·
24       A. · Yes.

25· · · ·Q.·
25       Q. · If you flip to the first page,



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·actually
    actually the cover page, do you see someone

·3·
 3 ·has
    has handwritten 2013 to 2015 at the top of

·4·
 4 ·document?
    document?

·5·
 5 · · · · · ·Do
              Do you see that?

·6·
 6 · · ·A.·
        A. · Yes.

·7·
 7 · · ·Q.·
        Q. · Do you recall at any point during
·8·
 8 ·your
    your employment at Duane Reade receiving a

·9·
 9 ·copy
    copy of the company handbook either in

10· ·electronic
10   electronic or written format?

11· · · ·A.·
11       A. · I don't recall at this time.

12· · · ·Q.·
12       Q. · Do you recall receiving any type
13· ·of
13   of training regarding Duane Reade's

14· ·employee
14   employee handbook?

15· · · ·A.·
15       A. · I don't recall at this time.

16· · · ·Q.·
16       Q. · Can you turn to page 2, the
17· ·second
17   second page of the document, and do you see

18· ·in
18   in the second paragraph it states, "As a

19· ·new
19   new employee you will be on 30, 60, 90 days

20· ·probation
20   probation depending on the position you

21· ·hold.·
21   hold. During this period you will be

22· ·evaluated
22   evaluated to see if your work performance

23· ·meets
23   meets the guidelines of the company

24· ·standards.·
24   standards. Should you not meet these

25· ·guidelines
25   guidelines your employment may be



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · · · · ·MS. MORRISON:· ·Objection.
              MS. MORRISON:   Objection.

·3·
 3 · · ·A.·
        A. · I am African-American, black.

·4·
 4 · · ·Q.·
        Q. · What is your national origin?

·5·
 5 · · ·A.·
        A. · What exactly do you mean by that?

·6·
 6 · · ·Q.·
        Q. · How do you identify your national

·7·
 7 ·origin,
    origin, if at all?

·8·
 8 · · ·A.·
        A. · African-American, black.

·9·
 9 · · · · · ·MS. MORRISON:· ·You
              MS. MORRISON:   You have to speak

10· · · ·up.
10       up.

11· · · ·A.·
11       A. · African-American, black.

12· · · ·Q.·
12       Q. · What is Mr. Guerrero's race?

13· · · · · · ·MS.
13                 MORRISON:· ·Objection.
               MS. MORRISON:   Objection.

14· · · ·A.·
14       A. · Hispanic.

15· · · ·Q.·
15       Q. · Do you know what his national

16· ·origin
16   origin is?

17· · · ·A.·
17       A. · No.

18· · · ·Q.·
18       Q. · What is Germaine Allen's race?

19· · · · · · ·MS.
19                 MORRISON:· ·Objection.
               MS. MORRISON:   Objection.

20· · · ·A.·
20       A. · I don't recall at this time.

21· · · ·Q.·
21       Q. · Do you know what Mr. Allen's

22· ·national
22   national origin is?

23· · · ·A.·
23       A. · At this time, I don't recall.

24· · · ·Q.·
24       Q. · What is Ms. Beckrum's race?

25· · · · · · ·MS.
25                 MORRISON:· ·Objection.
               MS. MORRISON:   Objection.



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·A.·
        A. · She is Hispanic.

·3·
 3 · · ·Q.·
        Q. · Do you know what her national

·4·
 4 ·origin
    origin is?

·5·
 5 · · ·A.·
        A. · At this time, I don't recall.

·6·
 6 · · ·Q.·
        Q. · When did you first start having
·7·
 7 ·issues
    issues with Mr. Guerrero?

·8·
 8 · · ·A.·
        A. · Approximately a few weeks till

·9·
 9 ·when
    when I started.

10· · · ·Q.·
10       Q. · Can you describe those issues to
11· ·me?
11   me?

12· · · ·A.·
12       A. · He began to say racial slurs and

13· ·different
13   different things to me about the type of

14· ·food
14   food he was eating, that because of my

15· ·color,
15   color, black people don't know about

16· ·Spanish
16   Spanish food, and home cooked Spanish food

17· ·is
17   is not same thing a store bought Spanish

18· ·food.
18   food.

19· · · · · · ·He
19             He would do little things that

20· ·would
20   would make me feel uncomfortable about my

21· ·skin
21   skin color, say things about me being

22· ·black.
22   black.

23· · · ·Q.·
23       Q. · Do you recall anything specific
24· ·that
24   that he said other than what you talked

25· ·about
25   about with food?



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·A.·
        A. · There was a lot different

·3·
 3 ·specific
    specific things he said.
                       said.· Specifically, as
·4·
 4 ·far
    far as me being black and I have no idea

·5·
 5 ·about
    about Spanish people, not just their food,

·6·
 6 ·their
    their origin and what they eat.
                               eat.· And black
·7·
 7 ·people
    people don't know -- have the same

·8·
 8 ·basically
    basically racial situation as Spanish

·9·
 9 ·people.
    people.

10· · · ·Q.·
10       Q. · Do you recall anything else that
11· ·he
11   he said?

12· · · ·A.·
12       A. · At this time, I don't recall

13· ·anything
13   anything else.

14· · · ·Q.·
14       Q. · When he made these comments, were
15· ·you
15   you on the floor, were you in the back

16· ·room?
16   room?

17· · · ·A.·
17       A. · We were in the room together.

18· · · ·Q.·
18       Q. · In what room?
19· · · ·A.·
19       A. · The office.

20· · · ·Q.·
20       Q. · Did he ever make any comments to
21· ·you
21   you in a location other than the office?

22· · · ·A.·
22       A. · No, but it was around others in

23· ·the
23   the office.

24· · · ·Q.·
24       Q. · Who were those others?
25· · · ·A.·
25       A. · Dimitri was there one time.·
                                    time. And



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·please?
    please?

·3·
 3 · · ·Q.·
        Q. · Sure.
·4·
 4 · · · · · ·Other
              Other than what's in your

·5·
 5 ·complaint
    complaint and what you just described, are

·6·
 6 ·you
    you aware of any other comments that

·7·
 7 ·Mr.
    Mr. Guerrero made that you would view as a

·8·
 8 ·slur
    slur or inappropriate?

·9·
 9 · · ·A.·
        A. · No.

10· · · ·Q.·
10       Q. · When Mr. Guerrero made these
11· ·comments,
11   comments, did you say anything to him in

12· ·response?
12   response?

13· · · ·A.·
13       A. · Yes.

14· · · ·Q.·
14       Q. · What did you say?
15· · · ·A.·
15       A. · That just because I am black

16· ·doesn't
16   doesn't mean I don't know about Spanish

17· ·food.·
17   food. And I also replied that I do eat

18· ·Spanish
18   Spanish food.

19· · · · · · ·I
19             I complained to him about that's

20· ·basically
20   basically discriminating against me, you

21· ·shouldn't
21   shouldn't say things like that, racial

22· ·slurs
22   slurs about me because I am black, I don't

23· ·know
23   know about Spanish food.
                        food.· I complained to
24· ·him
24   him and it just went in one ear and out the

25· ·other.
25   other.



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·Q.·
        Q. · Why did you view that as a slur?
·3·
 3 · · ·A.·
        A. · Because he made it clear to me

·4·
 4 ·that
    that because I was black, I had no clue

·5·
 5 ·about
    about Spanish food.

·6·
 6 · · ·Q.·
        Q. · Do you recall anything else that
·7·
 7 ·you
    you said to him or that he said to you in

·8·
 8 ·response
    response to your complaints?

·9·
 9 · · ·A.·
        A. · Besides him laughing and taking

10· ·it
10   it as a joke, I don't recall at this time.

11· · · ·Q.·
11       Q. · At the time that you
                               you were working

12· ·underneath
12   underneath Mr. Guerrero, did you complain

13· ·to
13   to anybody else about his comments?

14· · · ·A.·
14       A. · Vivian.

15· · · ·Q.·
15       Q. · Do you recall when you complained
16· ·to
16   to Vivian?

17· · · ·A.·
17       A. · At this time, I don't recall

18· ·exactly
18   exactly when, but it was after it was said.

19· ·Directly
19   Directly after the comment was said, once

20· ·Mr.
20   Mr. Guerrero took it as a joke.

21· · · ·Q.·
21       Q. · Did you complain to her in
22· ·person,
22   person, over the phone, in an e-mail?

23· · · ·A.·
23       A. · Over the phone.

24· · · ·Q.·
24       Q. · Just so I am clear, it is Vivian
25· ·Ghobrial;
25   Ghobrial; is that right?



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·A.·
        A. · Human resources.·
                   resources. I don't know

·3·
 3 ·her
    her last name.

·4·
 4 · · ·Q.·
        Q. · Prior to your speaking to
·5·
 5 ·Ms.
    Ms. Ghobrial over the phone, had you had

·6·
 6 ·any
    any communications with her?

·7·
 7 · · ·A.·
        A. · For human resources things, yes.

·8·
 8 · · ·Q.·
        Q. · So you are aware that she was
·9·
 9 ·your
    your HR rep; is that fair to say?

10· · · ·A.·
10       A. · Yes.

11· · · ·Q.·
11       Q. · What did Vivian say to you and
12· ·what
12   what did you say to her when you spoke to

13· ·her
13   her on the phone?

14· · · · · · ·MS.
14                 MORRISON:· ·Objection.
               MS. MORRISON:   Objection.

15· · · ·A.·
15       A. · I explained to her how I felt and

16· ·why
16   why I was upset.·
               upset. And, of course, pretty

17· ·much
17   much Vivian brushed it off and ignored my

18· ·comments
18   comments because nothing was done.

19· · · ·Q.·
19       Q. · Why do you say "of course"?
20· · · ·A.·
20       A. · I don't understand the question.

21· ·What
21   What do you mean?

22· · · ·Q.·
22       Q. · When you said of course Vivian
23· ·brushed
23   brushed it off?

24· · · ·A.·
24       A. · Because -- I mean nothing was

25· ·done
25   done when I verbally complained about it,



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·so
    so there was no action for Luis, there was

·3·
 3 ·nothing
    nothing done.·
            done. It was like my complaint

·4·
 4 ·just
    just went out the window.

·5·
 5 · · ·Q.·
        Q. · Do you know whether Vivian spoke
·6·
 6 ·to
    to Mr. Guerrero in response to your call?

·7·
 7 · · ·A.·
        A. · I don't recall at this time.                  I
·8·
 8 ·don't
    don't know.

·9·
 9 · · ·Q.·
        Q. · I am asking do you know now?
10· · · ·A.·
10       A. · I don't know.

11· · · ·Q.·
11       Q. · Did Vivian say anything to you in

12· ·response
12   response during the call?

13· · · ·A.·
13       A. · She pretty much brushed it off.

14· · · ·Q.·
14       Q. · What specifically did she say, do
15· ·you
15   you recall?

16· · · ·A.·
16       A. · "Maybe you shouldn't take it like

17· ·that."·
17   that." You know, she just made it seem

18· ·like
18   like I shouldn't be upset about what I was

19· ·upset
19   upset about.

20· · · ·Q.·
20       Q. · Did she say anything else?
21· · · ·A.·
21       A. · I don't recall at this time.

22· · · ·Q.·
22       Q. · Did you have any other
23· ·conversations
23   conversations with Ms. Ghobrial about

24· ·Mr.
24   Mr. Guerrero other than this call?

25· · · ·A.·
25       A. · I don't recall at this time.



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·Q.·
        Q. · Did you have conversations with
·3·
 3 ·anyone
    anyone other than Ms. Ghobrial about

·4·
 4 ·Mr.
    Mr. Guerrero?

·5·
 5 · · ·A.·
        A. · Besides him?

·6·
 6 · · ·Q.·
        Q. · Besides him.
·7·
 7 · · ·A.·
        A. · I complained to another

·8·
 8 ·co-worker,
    co-worker, and that was it.

·9·
 9 · · ·Q.·
        Q. · Who was the co-worker?
10· · · ·A.·
10       A. · Joel.

11· · · ·Q.·
11       Q. · What did you say to Joel?
12· · · ·A.·
12       A. · What Luis said to me.

13· · · ·Q.·
13       Q. · What, if anything, did Joel say
14· ·to
14   to you?

15· · · ·A.·
15       A. · It was more so a shock reaction.

16· · · ·Q.·
16       Q. · Is Joel a man or woman?
17· · · ·A.·
17       A. · He is a man.

18· · · ·Q.·
18       Q. · Did Joel say why he was shocked?
19· · · ·A.·
19       A. · He told me that was very nasty

20· ·and
20   and rude for him to say any of that to me.

21· ·And
21   And that's pretty much it.
                            it.· I mean, I
22· ·couldn't
22   couldn't expect him to do anything.

23· · · ·Q.·
23       Q. · Just so I am clear, other than
24· ·Mr.
24   Mr. Guerrero, Ms. Ghobrial and Joel, did

25· ·you
25   you complain to anyone else about



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·Mr.
    Mr. Guerrero's comments?

·3·
 3 · · ·A.·
        A. · Not that I recall at this time.

·4·
 4 · · ·Q.·
        Q. · Do you think Mr. Guerrero's
·5·
 5 ·comments
    comments were based on your race?

·6·
 6 · · ·A.·
        A. · Yes.

·7·
 7 · · ·Q.·
        Q. · Why do you think that?
·8·
 8 · · ·A.·
        A. · His exact words, the whole aura,

·9·
 9 ·the
    the way it was said to me it was meant to

10· ·hurt
10   hurt my feelings.
             feelings.· It was meant to
11· ·discriminate
11   discriminate against me.·
                          me. It was meant to

12· ·bash
12   bash me for my race.

13· · · ·Q.·
13       Q. · How do you know what he meant by
14· ·what
14   what he said?

15· · · ·A.·
15       A. · He made it clear to me, black

16· ·people
16   people don't know about Spanish food.

17· · · ·Q.·
17       Q. · Do you think it is an accurate
18· ·statement
18   statement that he made?

19· · · ·A.·
19       A. · Of course not.

20· · · ·Q.·
20       Q. · Is there any other way other than
21· ·the
21   the comments that you feel that

22· ·Mr.
22   Mr. Guerrero mistreated you in any type of

23· ·way?
23   way?

24· · · ·A.·
24       A. · Besides after the fact of me

25· ·complaining
25   complaining about him getting transferred.



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·Q.·
        Q. · Why don't you describe that to
·3·
 3 ·me?
    me?

·4·
 4 · · · · · ·MS. MORRISON:· ·Objection.
              MS. MORRISON:   Objection.

·5·
 5 · · ·Q.·
        Q. · Meaning that you complained and
·6·
 6 ·were
    were transferred?

·7·
 7 · · ·A.·
        A. · After everything happened with

·8·
 8 ·the
    the Spanish food, next thing you know I was

·9·
 9 ·transferred
    transferred to another store after

10· ·complaining
10   complaining to human resources about what I

11· ·was
11   was told.

12· · · ·Q.·
12       Q. · Did anyone discuss the transfer
13· ·with
13   with you?

14· · · ·A.·
14       A. · No.

15· · · ·Q.·
15       Q. · At the time you were working for
16· ·Duane
16   Duane Reade, which store was closer to your

17· ·home,
17   home, the location at 137 and Broadway or

18· ·the
18   the one at 528 Broadway?

19· · · ·A.·
19       A. · Neither one.·
                      one. They were like two

20· ·blocks
20   blocks away from each other.

21· · · ·Q.·
21       Q. · So about the same, right?
22· · · ·A.·
22       A. · Yes.

23· · · ·Q.·
23       Q. · When you were transferred, did
24· ·you
24   you have the same job title?

25· · · ·A.·
25       A. · Yes.



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·Q.·
        Q. · Did you have the same pay?
·3·
 3 · · ·A.·
        A. · Yes.

·4·
 4 · · ·Q.·
        Q. · Did you view the transfer as a
·5·
 5 ·demotion
    demotion in any way?

·6·
 6 · · ·A.·
        A. · I don't know.

·7·
 7 · · ·Q.·
        Q. · Do you view it that way now?
·8·
 8 · · ·A.·
        A. · I mean, I had different feelings

·9·
 9 ·about it.· That's why my answer is I don't
    about it.

10· ·know.
10   know.

11· · · ·Q.·
11       Q. · What are those different
12· ·feelings?
12   feelings?

13· · · ·A.·
13       A. · I mean, one way is I know I was

14· ·transferred
14   transferred because of defending myself and

15· ·actually
15   actually saying something about me being

16· ·discriminated
16   discriminated against.

17· · · · · · ·And
17             And the other is like it pretty

18· ·much
18   much is a demotion, I got sent to another

19· ·store
19   store to like to be treated way low, like

20· ·as
20   as a person, not only to be treated way low

21· ·but
21   but to be physically abused from being at

22· ·that
22   that store so I would look at it as a

23· ·demotion.
23   demotion.

24· · · ·Q.·
24       Q. · Who physically abused you?
25· · · ·A.·
25       A. · I got robbed twice in that



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·location.
    location.

·3·
 3 · · ·Q.·
        Q. · Other than the robberies, just so
·4·
 4 ·I
    I am clear, you were not describing any

·5·
 5 ·physical
    physical abuse other than the robberies; is

·6·
 6 ·that
    that correct?

·7·
 7 · · ·A.·
        A. · Right
             Right.· It is more so emotional
·8·
 8 ·with
    with -- when I got transferred everything

·9·
 9 ·changed
    changed from where I was at at my original

10· ·location.
10   location.

11· · · ·Q.·
11       Q. · After you transferred, did you
12· ·have
12   have any other contact with Mr. Guerrero?

13· · · ·A.·
13       A. · Besides him speaking about me on

14· ·speakerphone,
14   speakerphone, no.

15· · · ·Q.·
15       Q. · What do you mean by that?
16· · · ·A.·
16       A. · It is in the complaint.·
                           complaint. He

17· ·called
17   called the new store, the phone was on

18· ·speaker,
18   speaker, he was talking to Crystal, and

19· ·they
19   they were talking about me, the Black

20· ·Morena
20   Morena that was taking over.·
                            over. Making jokes

21· ·about
21   about me.

22· · · · · · ·And
22             And I literally walked in and

23· ·heard
23   heard the whole conversation.

24· · · ·Q.·
24       Q. · How soon after you started
25· ·working
25   working at the new store did that occur?



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·A.·
        A. · Maybe, I want to say, a few weeks

·3·
 3 ·in
    in there.

·4·
 4 · · ·Q.·
        Q. · Did you say anything to Crystal
·5·
 5 ·or
    or Mr. Guerrero at that time?

·6·
 6 · · ·A.·
        A. · I couldn't.·
               couldn't. Crystal made it

·7·
 7 ·clear
    clear to him that I walked in, so there was

·8·
 8 ·nothing
    nothing really left to discuss.·
                           discuss. I already

·9·
 9 ·heard
    heard it.

10· · · ·Q.·
10       Q. · How do you know that he was
11· ·describing
11   describing you?

12· · · ·A.·
12       A. · She told him on the phone that I

13· ·walked
13   walked in, and the exact words were, "Is

14· ·the
14   the Morena Mujer taking over?"

15· · · · · · ·I
15             I am the only black supervisor

16· ·there
16   there that they were talking about as a

17· ·female.
17   female.

18· · · ·Q.·
18       Q. · What did you understand what that
19· ·expression
19   expression means?

20· · · ·A.·
20       A. · That means black girl.

21· · · ·Q.·
21       Q. · Do you believe that it is a
22· ·racist
22   racist expression?

23· · · ·A.·
23       A. · Very.

24· · · ·Q.·
24       Q. · Why is that?
25· · · ·A.·
25       A. · I would never describe you as a



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·white
    white boy. That is very racial.·
                            racial. And I am

·3·
 3 ·not
    not a black girl.·
                girl. My name is Ciera.·
                                 Ciera. My

·4·
 4 ·mom
    mom didn't name me Morena.

·5·
 5 · · ·Q.·
        Q. · Other than that call, did you
·6·
 6 ·have
    have any other contact with Mr. Guerrero

·7·
 7 ·after
    after you transferred?

·8·
 8 · · ·A.·
        A. · No.

·9·
 9 · · ·Q.·
        Q. · Do you know if Mr. Guerrero had
10· ·any
10   any role in your separation from the

11· ·company?
11   company?

12· · · ·A.·
12       A. · He had a huge role.

13· · · ·Q.·
13       Q. · How is that?
14· · · ·A.·
14       A. · Because after the robbery when I

15· ·came
15   came -- when they forced me to come back to

16· ·work,
16   work, they transferred me back to Luis'

17· ·store.·
17   store. After being robbed at 528, they

18· ·sent
18   sent me back to his store.

19· · · · · · ·As
19             As soon as I got there, human

20· ·resources
20   resources was there, they made me come back

21· ·to
21   to work to terminate me.·
                          me. As soon as I

22· ·walked
22   walked in, coming back to work, even though

23· ·the
23   the doctor did not clear me, as soon as I

24· ·walked
24   walked in the door, they terminated me.

25· · · ·Q.·
25       Q. · Who told you that your employment



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·white
    white boy. That is very racial.·
                            racial. And I am

·3·
 3 ·not
    not a black girl.·
                girl. My name is Ciera.·
                                 Ciera. My

·4·
 4 ·mom
    mom didn't name me Morena.

·5·
 5 · · ·Q.·
        Q. · Other than that call, did you
·6·
 6 ·have
    have any other contact with Mr. Guerrero

·7·
 7 ·after
    after you transferred?

·8·
 8 · · ·A.·
        A. · No.

·9·
 9 · · ·Q.·
        Q. · Do you know if Mr. Guerrero had
10· ·any
10   any role in your separation from the

11· ·company?
11   company?

12· · · ·A.·
12       A. · He had a huge role.

13· · · ·Q.·
13       Q. · How is that?
14· · · ·A.·
14       A. · Because after the robbery when I

15· ·came
15   came -- when they forced me to come back to

16· ·work,
16   work, they transferred me back to Luis'

17· ·store.·
17   store. After being robbed at 528, they

18· ·sent
18   sent me back to his store.

19· · · · · · ·As
19             As soon as I got there, human

20· ·resources
20   resources was there, they made me come back

21· ·to
21   to work to terminate me.·
                          me. As soon as I

22· ·walked
22   walked in, coming back to work, even though

23· ·the
23   the doctor did not clear me, as soon as I

24· ·walked
24   walked in the door, they terminated me.

25· · · ·Q.·
25       Q. · Who told you that your employment



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·was
    was terminated?

·3·
 3 · · ·A.·
        A. · I walked in.
                      in.· It was Luis and
·4·
 4 ·this
    this guy from human resources with a suit

·5·
 5 ·on.·
    on. And he asked about a transaction that

·6·
 6 ·I
    I had nothing to do with, that was even

·7·
 7 ·paid
    paid back.·
         back. I even showed him the receipt.

·8·
 8 ·And
    And he terminated me.

·9·
 9 · · · · · ·He
              He said they had no clue about

10· ·the
10   the receipt.·
         receipt. And I showed him everything.

11· ·Luis
11   Luis had all the knowledge of the receipt

12· ·and
12   and I was terminated.

13· · · ·Q.·
13       Q. · Do you know whose decision it was
14· ·to
14   to terminate your employment?

15· · · ·A.·
15       A. · I don't know.

16· · · ·Q.·
16       Q. · Have you come to learn any
17· ·information
17   information about your termination as a

18· ·result
18   result of this lawsuit?

19· · · ·A.·
19       A. · I don't know.

20· · · ·Q.·
20       Q. · At any point, have you reviewed
21· ·any
21   any transcripts of other people who have

22· ·been
22   been deposed in this case?

23· · · ·A.·
23       A. · No.

24· · · ·Q.·
24       Q. · Do you know the name of the
25· ·person
25   person from HR?



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·was
    was terminated?

·3·
 3 · · ·A.·
        A. · I walked in.
                      in.· It was Luis and
·4·
 4 ·this
    this guy from human resources with a suit

·5·
 5 ·on.·
    on. And he asked about a transaction that

·6·
 6 ·I
    I had nothing to do with, that was even

·7·
 7 ·paid
    paid back.·
         back. I even showed him the receipt.

·8·
 8 ·And
    And he terminated me.

·9·
 9 · · · · · ·He
              He said they had no clue about

10· ·the
10   the receipt.·
         receipt. And I showed him everything.

11· ·Luis
11   Luis had all the knowledge of the receipt

12· ·and
12   and I was terminated.

13· · · ·Q.·
13       Q. · Do you know whose decision it was
14· ·to
14   to terminate your employment?

15· · · ·A.·
15       A. · I don't know.

16· · · ·Q.·
16       Q. · Have you come to learn any
17· ·information
17   information about your termination as a

18· ·result
18   result of this lawsuit?

19· · · ·A.·
19       A. · I don't know.

20· · · ·Q.·
20       Q. · At any point, have you reviewed
21· ·any
21   any transcripts of other people who have

22· ·been
22   been deposed in this case?

23· · · ·A.·
23       A. · No.

24· · · ·Q.·
24       Q. · Do you know the name of the
25· ·person
25   person from HR?



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·in
    in the computer and they were printed?

·3·
 3 · · ·A.·
        A. · On a spreadsheet.

·4·
 4 · · ·Q.·
        Q. · Have you ever seen work schedules
·5·
 5 ·for
    for Duane Reade in a format similar to what

·6·
 6 ·is
    is in front of you?

·7·
 7 · · ·A.·
        A. · Yes.

·8·
 8 · · ·Q.·
        Q. · At what time have you seen those?
·9·
 9 · · · · · ·MS. MORRISON:· ·Objection.
              MS. MORRISON:   Objection.

10· · · ·A.·
10       A. · When I was at work the schedule

11· ·was
11   was posted.

12· · · ·Q.·
12       Q. · Would the postings of the
13· ·schedule
13   schedule physically look like this?

14· · · ·A.·
14       A. · Yes, every schedule looked like

15· ·this
15   this the ones I did and she did.·
                                 did. It was

16· ·done
16   done the same way.

17· · · ·Q.·
17       Q. · You had an opportunity to look
18· ·through
18   through these documents.

19· · · · · · ·Please
19             Please take your time.

20· · · · · · ·My
20             My question for you is if you

21· ·have
21   have any reason to believe that these are

22· ·inaccurate
22   inaccurate as to the schedules for your

23· ·store?
23   store?

24· · · · · · ·I
24             I will point out that while you

25· ·are
25   are reviewing each document is the weekly



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·schedule
    schedule and continues for two or three

·3·
 3 ·pages,
    pages, and all of the employees are listed

·4·
 4 ·in
    in alphabetical order, so your name appears

·5·
 5 ·on
    on the document somewhere on page 2 of each

·6·
 6 ·of
    of these documents.

·7·
 7 · · · · · ·MS. MORRISON:· ·I'm
              MS. MORRISON:   I'm sorry, is

·8·
 8 · · ·there
        there a question pending?

·9·
 9 · · · · · ·MR.
              MR. WARSHAW:·
                  WARSHAW: ·I
                            I asked her to

10· · · ·review
10       review the documents and tell me if

11· · · ·she
11       she thinks these are inaccurate as to

12· · · ·the
12       the weekly schedules of her store.

13· · · · · · ·MS.
13                 MORRISON:· ·Objection.
               MS. MORRISON:   Objection.

14· · · ·A.·
14       A. · From what I am seeing, these are

15· ·not
15   not schedules I've seen at all.

16· · · ·Q.·
16       Q. · Why is that?
17· · · ·A.·
17       A. · Because from what I am looking at

18· ·is
18   is not accurate, how she used to do the

19· ·schedules
19   schedules whatsoever.

20· · · ·Q.·
20       Q. · What is inaccurate about these
21· ·documents?
21   documents?

22· · · ·A.·
22       A. · The times of the opening.·
                               opening. The

23· ·times
23   times of the other people.·
                        people. It was never

24· ·like
24   like this.

25· · · ·Q.·
25       Q. · And you would agree with me that



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·it
    it indicates that other individuals started

·3·
 3 ·working
    working at 6:30 a.m., at least that's what

·4·
 4 ·these
    these documents indicate; is that correct?

·5·
 5 · · ·A.·
        A. · No, they started working at 7:00

·6·
 6 ·a.m.
    a.m.

·7·
 7 · · ·Q.·
        Q. · Can you turn back to the first

·8·
 8 ·page,
    page, if you will.

·9·
 9 · · · · · ·We
              We have Sunday, 11/8/2015.

10· · · · · · ·If
10             If you go to the bottom, do you

11· ·see
11   see Jeffrey Nunez?

12· · · · · · ·Do
12             Do you see that?

13· · · ·A.·
13       A. · He worked 6:30.

14· · · ·Q.·
14       Q. · If you go back to Monday and
15· ·Tuesday,
15   Tuesday, Miguel Brito, B.R.I.T.O., this

16· ·document
16   document at least indicates a start time of

17· ·6:30
17   6:30 a.m. for both of those days.

18· · · · · · ·Do
18             Do you see that?

19· · · ·A.·
19       A. · Again, I was not there when

20· ·Miguel
20   Miguel was there.·
                there. So I don't know how my

21· ·name
21   name was added here because I wasn't

22· ·present
22   present when he was there.

23· · · ·Q.·
23       Q. · Let me ask you this:·
                             this: ·What
                                    What was

24· ·the
24   the date, to the best of your recollection,

25· ·of
25   of the first robbery incident?



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·A.·
        A. · Yes.

·3·
 3 · · · · · ·MS. MORRISON:· ·Now
              MS. MORRISON:   Now I see it.

·4·
 4 · · ·Withdraw
        Withdraw the objection.

·5·
 5 · · ·Q.·
        Q. · And underneath that, it states,
·6·
 6 ·"ED
    "ED triage/intake by Laura Blaney,"

·7·
 7 ·B.L.A.N.E.Y.,
    B.L.A.N.E.Y., "RN, 12/16/15 at 7:51 a.m."

·8·
 8 · · · · · ·Do
              Do you see that?

·9·
 9 · · ·A.·
        A. · Yes.

10· · · ·Q.·
10       Q. · Do you see underneath that, it
11· ·states,
11   states, "PT," which I think is patient "was

12· ·robbed
12   robbed while at work.·
                     work. Reports she was hit

13· ·with
13   with a gun across left side of face and

14· ·thrown
14   thrown over a chair.·
                   chair. Left ankle pain and

15· ·swelling
15   swelling noted along with facial pain and

16· ·swelling."
16   swelling."

17· · · · · · ·Do
17             Do you see that?

18· · · ·A.·
18       A. · Yes.

19· · · ·Q.·
19       Q. · Do you recall reporting that to
20· ·one
20   one of the nurses, that information there?

21· · · ·A.·
21       A. · No, I don't recall.·
                          recall. I didn't say

22· ·I
22   I was thrown over the chair.·
                           chair. I fell over

23· ·the
23   the chair.

24· · · ·Q.·
24       Q. · So where it says here, "Thrown
25· ·over
25   over a chair," you don't recall making



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                                                                             YVer1f
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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·Q.·
        Q. · And under "Assessment/Plan," it
·3·
 3 ·states,
    states, "25-year-old female with a PMH of

·4·
 4 ·RLE
    RLE cellulitis years ago now has chronic

·5·
 5 ·RLE
    RLE edema brought in after an assault that

·6·
 6 ·occurred
    occurred PTA.·
             PTA. PT or patient works at the

·7·
 7 ·Duane
    Duane Reade at 125th Street.·
                         Street. She was

·8·
 8 ·opening
    opening store by herself when she was

·9·
 9 ·physically
    physically assaulted.·
               assaulted. Plaintiff sustained

10· ·multiple
10   multiple blows to the face and head with a

11· ·gun.·
11   gun. No LOC occurred.·
                 occurred. Plaintiff was

12· ·pushed
12   pushed multiple times towards the safe and

13· ·tripped
13   tripped over a chair twisting left ankle."

14· · · · · · ·Did
14             Did you report to Ms. Pessalano

15· ·that
15   that you had suffered multiple blows to

16· ·your
16   your face?

17· · · ·A.·
17       A. · No.·
              No. I told Ms. Pessalano that I

18· ·was
18   was robbed at gunpoint, I was hit on my

19· ·face,
19   face, I hit my face on the safe when I fell

20· ·over
20   over chair and I was hit with the gun.

21· · · ·Q.·
21       Q. · Do you know why she indicated
22· ·that
22   that you suffered multiple blows?

23· · · ·A.·
23       A. · No, I don't know why she did what

24· ·she
24   she did.·
         did. I don't know.

25· · · ·Q.·
25       Q. · Do you know why she reported you



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·were
    were "Pushed multiple times toward the

·3·
 3 ·safe"?
    safe"?

·4·
 4 · · ·A.·
        A. · When you say pushed, I was

·5·
 5 ·directed
    directed when he came in the store to the

·6·
 6 ·safe.
    safe.

·7·
 7 · · ·Q.·
        Q. · My question is a little
·8·
 8 ·different.
    different.

·9·
 9 · · · · · ·Do
              Do you know why Ms. Pessalano --

10· · · ·A.·
10       A. · No, I can't tell you why she did

11· ·what
11   what she did.

12· · · ·Q.·
12       Q. · Can you turn to page 6 of this
13· ·document.·
13   document. This is an entry by Jennifer

14· ·Huang,
14   Huang, H.U.A.N.G., on 12/16/15 at 8:22 a.m.

15· · · · · · ·Do
15             Do you see that at the top?

16· · · ·A.·
16       A. · Yes.

17· · · ·Q.·
17       Q. · Do you see a few lines down, it
18· ·states,
18   states, "Hit her with the butt of a gun

19· ·multiple
19   multiple times to the face and pushed her

20· ·down
20   down into a chair"?

21· · · · · · ·Do
21             Do you see that?

22· · · ·A.·
22       A. · Yes.

23· · · ·Q.·
23       Q. · Did you report that information
24· ·to
24   to Ms. Huang?

25· · · ·A.·
25       A. · Never said nothing about a butt



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·or
    or was pushed down, no.

·3·
 3 · · ·Q.·
        Q. · Do you know why she indicated
·4·
 4 ·that
    that on this report?

·5·
 5 · · ·A.·
        A. · No.

·6·
 6 · · ·Q.·
        Q. · Do you see a few lines down, it
·7·
 7 ·states,
    states, "Periorbital,"

·8·
 8 ·P.E.R.I.O.R.B.I.T.A.L.,
    P.E.R.I.O.R.B.I.T.A.L., "and nasal

·9·
 9 ·tenderness,
    tenderness, no swelling or bruising"?

10· · · · · · ·Do
10             Do you see that?

11· · · ·A.·
11       A. · Yes.

12· · · ·Q.·
12       Q. · At the bottom do you see it
13· ·states,
13   states, "CT facial bones"?

14· · · ·A.·
14       A. · Yes.

15· · · ·Q.·
15       Q. · Do you know what a CT scan is?
16· · · ·A.·
16       A. · A CAT scan.

17· · · ·Q.·
17       Q. · If you could turn the page again
18· ·to
18   to page 7, DR 914.

19· · · · · · ·Do
19             Do you see there is another entry

20· ·by
20   by someone named Catherine M. Diaz,

21· ·D.I.A.Z.,
21   D.I.A.Z., at 12/16/2015 at 8:08 p.m.?

22· · · ·A.·
22       A. · Yes.

23· · · ·Q.·
23       Q. · Do you see under the narrative,
24· ·it
24   it states, "Plaintiff arrived via EMS, S/P

25· ·assault
25   assault while working in Duane Reade.



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 ·Patient
    Patient states she was pistol whipped to

·3·
 3 ·the
    the face and in the process fell over a

·4·
 4 ·chair
    chair injuring her left ankle.·
                            ankle. Plus

·5·
 5 ·swelling
    swelling noted to right periorbital.·
                            periorbital. And

·6·
 6 ·patient
    patient states left side of face is what is

·7·
 7 ·hurting
    hurting her the most.·
                    most. Incident was already

·8·
 8 ·reported
    reported to police who are currently here

·9·
 9 ·with
    with patient.·
         patient. ·Patient
                   Patient is very nervous as

10· ·she
10   she states assailant took her state ID with

11· ·him"?
11   him"?

12· · · · · · ·Do
12             Do you see that?

13· · · ·A.·
13       A. · Yes.

14· · · ·Q.·
14       Q. · Is that information that you
15· ·reported
15   reported to Ms. Diaz?

16· · · ·A.·
16       A. · Yes, I never told Ms. Diaz the

17· ·words
17   words pistol whipped.

18· · · ·Q.·
18       Q. · Other than that statement, is it
19· ·accurate?
19   accurate?

20· · · ·A.·
20       A. · Yes.

21· · · ·Q.·
21       Q. · Do you know why she used the
22· ·words
22   words pistol whipped?

23· · · ·A.·
23       A. · No, I can't tell you why she did

24· ·what
24   what she did.

25· · · ·Q.·
25       Q. · Do you see at the bottom of the



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·1·
 1 · · · · · · ·C.
                C. Washington

·2·
 2 · · ·question
        question and answer?

·3·
 3 · · · · · ·(Record
              (Record read.)

·4·
 4 ·BY
    BY MR. WARSHAW:

·5·
 5 · · ·Q.·
        Q. · Ms. Washington, turning back to
·6·
 6 ·18
    18 or DR 925, do you see on several of

·7·
 7 ·these
    these lines there is questions:·
                         questions: "Is the

·8·
 8 ·patient
    patient pregnant?"·
            pregnant?" And the answer is "No"?

·9·
 9 · · · · · ·Do
              Do you see that?

10· · · ·A.·
10       A. · Yes.

11· · · ·Q.·
11       Q. · Is that information accurate?
12· · · ·A.·
12       A. · No, I don't remember telling

13· ·nobody
13   nobody none of that, so it is not accurate.
                                       accurate

14· · · ·Q.·
14       Q. · Were you on pregnant on December
15· ·16,
15   16, 2015?

16· · · ·A.·
16       A. · Yes, but I wasn't aware of it

17· ·until
17   until later on.

18· · · ·Q.·
18       Q. · When did you become aware?
19· · · ·A.·
19       A. · About -- I am not too sure about

20· ·the
20   the exact date, but it was afterwards,

21· ·maybe
21   maybe about a week or two afterwards.

22· · · ·Q.·
22       Q. · Do you know if they conducted a
23· ·pregnancy
23   pregnancy test on you when you were at

24· ·Mount
24   Mount Sinai on December 16, 2015?

25· · · ·A.·
25       A. · No, they didn't.



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